     Case 3:23-cv-00972-K Document 17 Filed 06/28/23              Page 1 of 2 PageID 162



                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

MARY AGUILAR,                                   §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §           CASE NO. 3:23-CV-00972-K
                                                §
CVS PHARMACY, INC. and                          §
EMERSON HEALTHCARE, LLC                         §
                                                §
        Defendants.                             §

                      DEFENDANT EMERSON HEALTHCARE, LLC’S
                            MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7.1 and 56.3, Defendant

Emerson Healthcare, LLC moves for summary judgment on all claims asserted by Plaintiff, as

further set forth below.

                                            SUMMARY

        Plaintiff Mary Aguilar seeks damages for personal injuries she alleges she sustained after

using Sarna, an over-the-counter anti-itch lotion. Defendant Emerson Healthcare, LLC

(“Emerson”) is the distributor of Sarna, and Defendant CVS Pharmacy, Inc. (“CVS”) is the retailer

at which the Sarna used by Plaintiff was allegedly purchased. Plaintiff asserts claims of strict

liability, negligence and gross negligence, breach of express and implied warranties, and DTPA

violations against Emerson. See Pl. Orig. Pet. Plaintiff seeks to recover damages based on alleged

personal injuries. See Pl. Orig. Pet. at 7–8.

        Emerson moves for summary judgment on all of Plaintiff’s claims on two grounds. First,

Emerson is a nonmanufacturing seller under Texas Civil Practice and Remedies Code, Section

82.003. As such, Emerson is not liable for any harm to Plaintiff caused by the subject product,


                                                                                                     1
   Case 3:23-cv-00972-K Document 17 Filed 06/28/23            Page 2 of 2 PageID 163



Sarna, because Emerson only distributed, and did not manufacture, Sarna. Second, Plaintiff’s

claims are time-barred in their entirety by the two-year statute of limitations applicable to

Plaintiff’s personal injury claims.

       Accordingly, Emerson respectfully moves for summary judgment on all of Plaintiff’s

claims. A brief in support of this Motion is being filed contemporaneously with this Motion

pursuant to Local Rule 7.1 and 56.5.




Dated: June 28, 2023.
                                          Respectfully submitted,


                                          /s/ Alan R. Vickery
                                          Alan R. Vickery
                                          Texas Bar No. 20571650
                                          Alan.vickery@bowmanandbrooke.com
                                          Melissa B. Hostick
                                          Texas Bar No. 24128832
                                          melissa.hostick@bowmanandbrooke.com
                                          BOWMAN AND BROOKE LLP
                                          5850 Granite Parkway, Suite 900
                                          Plano, Texas 75024
                                          Phone: (972) 616 1700
                                          Facsimile: (972) 616 1701


                                          ATTORNEYS FOR DEFENDANT
                                          EMERSON HEALTHCARE LLC




                                                                                               2
